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                              United States District Court
                                District of Connecticut

 Yan Du, Elika Shams, Mengni He,
 and Stephen Azu, on behalf of
 themselves and others similarly situated,
 Plaintiffs,

 v.
                                                                         No. 25-cv-____
 United States Department of
 Homeland Security,                                                        April 24, 2025

 Kristi Noem, Secretary of the
 Department of Homeland Security, and

 Todd Lyons, Acting Director of
 Immigration and Customs Enforcement,
 Defendants.


                                   Notice of Related Case


      In conformance with D. Conn. Local R. 40(b)(2), the plaintiffs note that Rodriguez v.

Noem, No. 25-cv-616, also contests the termination of SEVIS status records.


                                                  _ /s/ Jaclyn Blickley
                                                  Jaclyn Blickley (No. ct31822)
                                                  Elana Bildner (No. ct30379)
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                                                  _ /s/ J. Christopher Llinas__
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